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                                            May 12, 2022

VIA ECF

Honorable Paul A. Crotty
Honorable Ona T. Wang
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

           Re:    Bauer v. Baud, et al., Case No. 1:22-cv-01822-PAC-OTW

Dear Judge Crotty and Judge Wang:

       We represent Plaintiff Trevor Bauer (“Plaintiff”) and write with the consent of Defendants

G/O Media, Inc. and Chris Baud (“Defendants”) on behalf of all parties to the above-referenced

action. We are in receipt of Judge Crotty’s May 3, 2022 text-only order scheduling a Pre-Motion

Conference for Thursday, May 19, 2022, as well as Judge Wang’s May 5, 2022 order granting

Defendants’ letter motion for a pre-motion conference and directing the parties to propose a

Motion to Dismiss briefing schedule (ECF No. 15). The parties have conferred and write to

propose a briefing schedule. Additionally, as discussed below, the parties jointly move the Court

for an order adjourning all discovery deadlines and conferences until Defendants’ forthcoming

Motion to Dismiss is resolved.

       With respect to the briefing schedule for Defendants’ Motion to Dismiss, the parties

propose the following schedule:

            Defendants’ opening brief due June 10, 2022;
            Plaintiff’s opposition brief due July 15, 2022;
            Defendants’ reply brief due July 29, 2022.

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HONORABLE PAUL A. CROTTY & HONORABLE ONA T. WANG
MAY 12, 2022
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The parties respectfully request that the Court approve this briefing schedule.

       In light of this proposed schedule, the parties request that the Pre-Motion Conference

scheduled before Judge Crotty be adjourned. The parties’ agreement on the above briefing

schedule obviates the need for the Pre-Motion Conference. As such, adjournment would conserve

the Court’s time and resources. This is the parties first request for an adjournment of this

conference. See Individual Practices of Judge Crotty, Rule #1 (E).

       The parties further request that all discovery obligations be stayed pending resolution of

the Motion to Dismiss. The parties believe that it is in their best interests to focus their efforts on

the Motion to Dismiss in order to conserve litigant and judicial resources. This request includes

all discovery obligations imposed by the Federal Rules of Civil Procedure, Judge Wang’s order to

submit a signed Rule 26(f) report on May 27, 2022 (ECF No. 15), and all deadlines set by Judge

Wang in her Initial Case Management Conference Order (ECF No. 7), including the Initial Pretrial

Conference scheduled for June 8, 2022. Upon resolution of the Motion to Dismiss, the parties will

confer and develop a proposed discovery schedule and case management plan for submission to

the Court. The parties have conferred and consent to this motion.

       The parties appreciate the Court’s time and consideration of this request.

                                                       Respectfully submitted,

                                                       /s/ Blair G. Brown
                                                       Blair G. Brown

cc: Counsel of Record (via ECF)




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